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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

  Linda Garbett,                                  )
                                                                       3:23-3400-CMC
                                                  ) Civil Action No.: _____________________
                         Plaintiff,               )
                                                  )
  v.                                              )
                                                  )               COMPLAINT
  Brookfield Properties Retail, Inc.; Andy        )           (Jury Trial Demanded)
  Frain Services Inc.,                            )
                                                  )
                          Defendants.             )
                                                  )
                                                  )


        Now comes Plaintiff, Linda Garbett, by and through undersigned counsel, and shows unto

this Court as follows:

                                        INTRODUCTION

        1.       On April 16, 2022, two groups of unsupervised juveniles strolled through the

Columbiana Centre Mall uninhibited by mall or security personnel.

        2.       One of these groups made its way toward the food court where they began causing

a disturbance.

        3.       Despite the group being known to the mall as regular troublemakers, neither mall

security nor the police department were contacted about them.

        4.       A short while later, a verbal altercation took place between juveniles in the food

court of Columbiana Centre Mall. Once again, they were left unchecked by mall and security

personnel.

        5.       The altercation escalated when both groups pulled guns out of their clothing and

began shooting at each other.


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       6.      Plaintiff was in the mall when she heard popping noises, recognizing gun shots, and

started running with the crowd.

       7.      While running, Plaintiff was knocked over into a sign, and fell to her knees,

suffering a torn meniscus and other injuries.

       8.      At all times relevant, Defendants Brookfield Properties Retail, Inc., and Andy Frain

Services, Inc., owed Plaintiff a duty of care to keep the premises of Columbiana Centre Mall safe

and secure.

       9.      Plaintiff’s injuries are the direct and proximate result of Defendants’ breaches of

the duties owed to her.

                               PARTIES AND JURISDICTION

       10.     Plaintiff Linda Garbett is a citizen and resident of Lexington County, South

Carolina.

       11.     Defendant Brookfield Properties Retail, Inc., is a Delaware corporation and global

real estate services company that, as part of its business, owns and operates retail shopping malls

across the world, including the Columbiana Centre Mall. Defendant Brookfield makes operational

decisions at Columbiana Centre, including, but not limited to, decisions regarding

security services and mechanisms.

       12.     Defendant Brookfield Properties Retail, Inc., is authorized to do business in South

Carolina and can be served with process via its registered agent Corporation Service Company at

508 Meeting Street, West Columbia, South Carolina 29169.

       13.     As owners of Columbiana Centre, Defendant Brookfield invites large numbers of

people into its facility. As a result, Brookfield has a responsibility to be aware of past criminal




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activity near and on their premises and the need to deter criminal activity that would affect their

patrons and invitees.

       14.     Defendant Brookfield had a non-delegable duty to maintain Columbiana Centre

Mall in a safe, secure, and reasonable manner, which they failed to do. This failure resulted in

severe damages to the Plaintiff.

       15.     Andy Frain Services, Inc. is an Illinois corporation authorized to do business in

South Carolina. It can be served with process via its registered agent CT Corporation System at 2

Office Park Court Suite 103, Columbia, South Carolina 29223.

       16.     Upon information and belief, Defendant Andy Frain Services, Inc. provided

security services at the Columbiana Centre Mall at all relevant times contained hereto. As such,

they have a responsibility to be aware of past criminal activity near and on the premises and the

need to deter criminal activity that would affect the patrons and invitees.

       17.     Upon information and belief, Defendant Brookfield had agents, representatives,

and employees, whose acts and omissions complained of in this Complaint, were performed during

the course and scope of such employment and/or agency. Their actions and inactions are imputed

to Brookfield under the doctrine of respondeat superior.

       18.     At all times relevant, upon information and belief, Defendant Brookfield contracted

with Defendant AFS to provide security services to Brookfield and its customers at Columbiana

Centre Mall located at 100 Columbiana Circle in Richland and Lexington Counties, in the State of

South Carolina. This contract and agreement created an agency relationship between Brookfield

and AFS, and all actions and inactions of AFS and its agents and/or employees are imputed to

Brookfield through agency and/or apparent authority.




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       19.     The negligent acts, omissions and liability of all Defendants also refer to and

include each Defendants’ agents, principals, employees and/or servants, both directly and

vicariously, pursuant to principles of corporate liability, apparent authority, agency, ostensible

agency and/or respondeat superior.

       20.     That all of the above-named Defendants are jointly and severally liable as to all

damages alleged herein since their negligent, reckless, and wanton acts and omissions, singularly

or in combination, were a direct and proximate cause of the Plaintiff’s damages and injuries.

       21.     The amount in controversy in this matter exceeds $75,000.00, thereby satisfying

the jurisdictional requirement contained in 28 U.S.C. § 1332(a).

                               BACKGROUND INFORMATION

       22.     Defendant Brookfield has at all times relevant hereto owned and operated

Columbiana Centre Mall located at 100 Columbiana Circle, Columbia, South Carolina 29212,

which is a retail shopping mall offering a variety of retail stores, restaurants, and other services to

the public.

       23.     Defendant Brookfield regularly advertises and solicits the general public to come

and enjoy shopping and/or dining experiences at the Columbiana Centre mall which provides a

wide array of shopping and dining options. Defendant Brookfield affirmatively promotes its

facility as a safe and secure environment.

       24.     To provide security at the Columbiana Centre Mall, Defendant Brookfield retained

the services of AFS as its security company on or about the premises of the Columbiana Centre

Mall. AFS promotes and advertises its services to provide a safe and secure environment for the

patrons of the Columbiana Centre Mall.




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       25.     Upon information and belief, Defendants have taken reasonable security measures

at other similar facilities including increased signage, gun sniffing dogs, and other processes to

control crime that they did not utilize at Columbiana Centre Mall.

       26.     Defendants refused to take appropriate measures to provide for the safety of its

patrons, when they knew or should have known, that a dangerous environment existed.

       27.     On the afternoon of April 16th, 2022, the Plaintiff went shopping at the Columbiana

Centre Mall. Columbiana Centre Mall hosted an Easter celebration which included the presence

of an Easter Bunny, which brought a greater number of patrons to the mall on this day. This event

was promoted as a safe and family friendly event.

   A. Prior Incidents

       28.     Prior to April 16, 2022, Defendants had actual or constructive knowledge of

criminal activity generally at Columbiana Centre Mall, and more specifically, of armed patrons,

and of delinquent activity arising from a longstanding problem with unsupervised juveniles at

Columbiana Centre Mall.

       29.     Indeed, on or around February 20, 2016, two young adults pulled their guns and

fired shots in Columbiana Centre Mall.

       30.     On March 31, 2016, a fight broke out when a group of 10 juveniles attacked two

patrons.

       31.     On August 29, 2016, a man robbed a jewelry store in the mall armed with a knife.

       32.     On November 11, 2017, store clerks in Belk recognized three individuals

shoplifting who had shoplifted on multiple occasions. At least one individual was armed and

threatened the store clerks with his gun.




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         33.   On March 3, 2018, a fight broke out in the food court of Columbiana Centre Mall

between juveniles.

         34.   On March 8, 2018, law enforcement responded to a stabbing at Columbiana Centre

Mall.

         35.   On June 19, 2021, law enforcement responded to the attempted murder of a woman

in her car in the Columbiana Mall parking lot and found a woman bleeding on the asphalt.

         36.   In addition to the rampant criminal and delinquent activity described above, the

Defendants also had actual or constructive knowledge that the following criminal activity, among

others not specifically identified herein, had occurred at the Columbiana Centre Mall.

                            Date      Crime
                           8/1/2017   Fighting
                           8/6/2017   Person w/ Gun
                          8/17/2017   Fight In Progress
                          8/21/2017   Assault
                          9/12/2017   Fight In Progress
                          12/8/2017   Vandalism Report
                         12/20/2017   Fight In Progress
                         12/26/2017   Fight In Progress
                          1/13/2018   Vandalism Report
                          2/12/2018   Fight w/ Weapon
                           3/1/2018   Assault
                          4/13/2018   Shots Fired in area
                          5/16/2018   Assault
                          5/26/2018   Vandalism
                           6/9/2018   Kidnapping
                           8/4/2018   Fight In Progress
                          8/25/2018   Vehicle Chase
                           9/7/2018   Fight In Progress
                           9/9/2018   Civil Disturbance weapon
                          10/1/2018   Civil Disturbance weapon
                          10/3/2018   Vandalism Report
                         10/13/2018   Person w/ Gun
                          11/9/2018   Fight Just Occurred
                         11/23/2018   Fight In Progress
                         12/21/2018   Fight Report
                         12/22/2018   Fight In Progress


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               1/15/2019   Fight In Progress
                2/6/2019   Assault Report
               2/13/2019   Fight In Progress
               3/10/2019   Vandalism
               3/12/2019   Shots Fired in area
               4/29/2019   Fight In Progress
               4/29/2019   Laceration
               4/29/2019   Laceration
               6/29/2019   Vandalism Report
               7/25/2019   Larceny
                8/3/2019   Civil Disturbance weapon
              11/18/2019   Fight In Progress
              11/27/2019   Assault Report
              11/28/2019   Fight In Progress
               12/3/2019   Person w/ Gun
               12/6/2019   Fight In Progress
              12/20/2019   Foot Chase
              12/28/2019   Civil Disturbance weapon
              12/28/2019   Civil Disturbance with Weapon
              12/31/2019   Fight In Progress
               1/31/2020   Assault Report
               2/16/2020   Assault Report
                3/8/2020   Stabbing (CFD)
                3/8/2020   Assault w/Weapon
               5/11/2020   Civil Disturbance weapon
               5/28/2020   Fight Just Occurred
               5/29/2020   Person w/ Gun
               7/11/2020   Fight In Progress
               7/11/2020   Fight In Progress
               8/29/2020   Fight Just Occurred
               10/2/2020   Strong Arm Robbery
              10/30/2020   Vandalism Report
              11/12/2020   Vandalism Report
              12/18/2020   Vandalism Report
              12/21/2020   Vandalism Report
              12/28/2020   Vandalism Report
              12/30/2020   Assault just Occurred
                3/6/2021   Domestic w/ Weapon
               4/20/2021   Fight In Progress
                5/1/2021   Assault In Progress
               5/29/2021   Civil Disturbance weapon
                6/2/2021   Person w/ Gun
               7/10/2021   Fight w/ Weapon
               7/24/2021   Fight Just Occurred
               8/18/2021   Fight In Progress

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                            12/3/2021      Person w/ Gun
                           12/10/2021      Civil Disturbance weapon
                           12/21/2021      Fight Just Occurred
                            1/21/2022      Shooting Hit
                            1/21/2022      Gunshot Wound (CFD)
                            1/22/2022      Person w/ Gun
                            1/29/2022      Person w/ Gun
                            4/16/2022      Active Shooter – Gunshot Wound


        37.     Including and in addition to the above, the City of Columbia police department has

over 100 incident reports regarding violent crimes occurring at the Columbiana Centre Mall over

the last five years.

        38.     Despite repeated, ongoing, and consistent violent incidents, Defendants have not

adequately addressed the longstanding crime and safety issues.

        39.     Defendants allow unsupervised juveniles to loiter in the mall, including repeat

offenders of crimes committed at Columbiana Centre Mall.

        40.     Employees of the mall, prior to the April 16, 2022 shooting, have repeatedly seen

violent incidents, including firearm possession and brandishing.

        41.     In light of these ongoing issues, changes in security and safety by Defendants, if

any, have been grossly inadequate.

    B. Customer Reviews

        42.     The above mounting incidents were not lost on Defendants. Defendants’ own

customer reviews warn:


                a. 3 years ago: “This place needs better security. My husband’s vehicle got broken into
                   [sic] in the d&b parking lot. Praise god he didn’t want up on them when they were
                   spilling his drink and stealing some change. This mall isn’t safe anymore. If I didn’t
                   CC I would never go back. Put your kids on a leash too because my girlfriend said a
                   stranger tried to snatch up her 3 year old. The security and cops are a joke at this place.”




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      b. 6 years ago: “Lots of people just hanging out and not shopping. The mall security is
         good for a laugh. Poorly managed. Over priced crappy stores. Malls are dying for a
         reason. Avoid this place. You are better off flushing your money down the commode.”

      c. 4 years ago: “This place is terrible. There is a variety of shops, but Dave and Buster’s
         has really made this place go downhill. Also mall is not safe, due to increase in
         predators.”

      d. 4 years ago: “Someone stolen my bag and took al money..and security’s person not
         support us [] [] after many requests thy didn’t do anything.”

      e. 4 years ago: “This area has really gone down hill. Didn’t feel safe in the parking lot at
         all or leaving my car there.”

      f.   2 years ago: “A bunch of teenagers everywhere. And no social distancing. Too large
           of a crowd considering covid 19”

      g. 4 years ago: “They have an only criminals can carry guns policy”

      h. 1 year and 10 months ago: “The mall security is a joke”

      i.   3 years ago: “Haven’t went back since I heard a gunshot in the food court []”

      j.   5 years ago: “Security is terrible don’t ask for help you probably won’t get it!”

      k. 5 years ago: “To many young ‘thugs’ just hanging out.”

      l.   4 years ago: “# dark not safe!! Parking lot no lights!!!!”

      m. 6 years ago: “Bad place”

      n. 1 year and 5 month ago: “Used to love the mall, sad its going downhill.”

      o. 1 year and 9 months ago: “Getting way to crowded, young and hood for my taste. I’d
         rather just shop Amazon or buy direct.”

      p. 5 years ago: “We got there and there was over 15 policemen around the food court.
         Heard they had three different fights in the last two hours of being there. This mall is
         becoming more and more dangerous. I read the news report of the hold up with a gun
         at the Victoria’s Secret Last week. And its crazy”

      q. 3 years ago: “Used to be a nice mall, but does not attract the best crowd these days.
         Once you start having multiple shooting scares, I’m out.”



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              r.   6 years ago: “I’d give more stars if security was worth anything but they are not. I had
                   my shopping bag lifted unknowingly when I set it down for a moment. Security was a
                   joke, he was an elderly man, he basically said there is nothing I can do, we don’t have
                   any cameras. I’m thinking wait a minute in this day and age your telling me there are
                   no cameras, he said yes that’s what I’m telling you. Sorry it happened but nothing I
                   can do. Incident happened after 260 purchase at Sephora inside JcPenny’s. I was so
                   ticket off and could have lost my cool if it wasn’t for my daughter being there. This
                   mall not store made any effort to get back to me. It was in fact a store across the US
                   that sent me a gift card. Thank you JcPenny in Chino, California, it was done by that
                   manager just because she wanted to take some of the sting away. Columbiana mall
                   needs security, cameras, and customer service training.”

              s. 2 years ago: “The once vibrant mall is waning. I don’t feel safe in that area anymore.”

              t.   5 years ago: “It was a great place to shop, but watch your back these days.”

              u. 3 years ago: “Starting to get ghetto/trashy. Not safe to be at when it gets dark.”

              v. 4 years ago: “Pure chaos”

              w. May 31, 2017: Women, be careful when using the restroom. I went to he women’s
                 restroom and a man was coming out of a stall. He claimed that he just really needed to
                 use the restroom. The men’s restroom was not closed, nor was there a line. He walked
                 creepily past me and went toward the men’s restroom. I walked straight out. I know
                 was in there looking at the women that were using the toilet. Sad thing is that there are
                 no security cameras to keep him from doing this again. I will never return.”

              x. December 2, 2017: “I used to enjoy this mall and area but I must say things have
                 changed here significantly. It is not the cleanest, the store selection is somewhat
                 limited, and the environment does not appear as safe as it once was. I was out here on
                 Black Friday to shop and there were some things happening that didn’t make me feel
                 very safe. Crime has significantly increased here and in the general area as well. There
                 were a number of police officers and security members but needless to say, I got what
                 I needed and left as soon as possible.”

             WITNESS STATEMENTS REGARDING LACK OF SECURITY

       43.    A current owner-operator of a kiosk in the Columbiana Centre Mall has been

working at the mall for about ten years. This witness has observed fights between young people.

He described mall security as no different than it was prior to the February 2016 shooting. The

witness described efforts to make the mall more secure stopped after the head of security moved


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away. The witness remembered the former head of security attempting to convince the mall to

install surveillance cameras for approximately three years.

       44.     A frequent patron of Columbiana Centre Mall over the past few years explained

that she stopped going to the mall at night, describing the mall as unsafe.

       45.     The uncle of one of the shooters on April 16, 2022, described reoccurring problems

with young men and drugs and gun violence at the mall, including his nephew. The uncle described

Columbiana Centre Mall as “dead.” He explained for that reason, the young men spend time at

Columbiana Centre Mall. He further explained that the young men carry their guns and do not care

about the security guards or police.

       46.     A frequent patron of Columbiana Centre Mall recalled growing up in Irmo, South

Carolina. She described getting dropped off at Columbiana Centre Mall on the weekends to

hangout. This witness explained that now she refuses to let her children go to the mall alone

because it is not safe. This witness remembered the February 2016 shooting and described a lack

of improvement in security since then. The witness expressed her belief that Columbiana Centre

Mall allows loitering, and she does not believe adequate security measures have been implemented

to protect her children.

       47.     A current employee working at a kiosk in Columbiana Centre Mall described the

mall security as abysmal and terrible at best. She described security as lacking with guards that

walk around all day looking like they do not want to be there. This witness has observed fights in

the mall once every two weeks, people stealing merchandise from stores, men harassing women,

and people loitering in the mall which she has reported to security. She recalled a group of young

men asking her if she thought one could beat up the other—and they squared off as is they were

going to fight. This witness described multiple occasions where guns were brought into the mall:



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a woman accidentally shot herself rummaging through her bag; and a woman pulling a gun out

and handing it to her son. Despite not seeing patrons with guns herself, this witness described

hearing young people say things that suggest they are carrying a gun.

        48.     A seasonal employee who operates a kiosk in Columbiana Centre Mall every

holiday season described mall security as “not the greatest” and lacking. The witness explained

that there are three or four fights every season she works. The witness explained that no one has

spoken to her about mall security, nor has anyone given her a phone number she can call for

security. She further explained that it is hard to find a security guard, as she described that she

rarely saw security guards patrolling the mall.

        49.     An employee who has worked at many stores at the Columbiana Centre Mall does

not believe the security cameras in the mall are functional. This witness has been unable to get

ahold of security in the past. She explained her belief that four security guards are on a shift at a

time. Since she has worked at the mall, there have been no “active shooter” drills. Since the April

2022 shooting, there have been no communications from the Columbiana Centre Mall

management or security office. The witness does not feel safe working at the mall.

        50.     A current employee at a store in Columbiana Centre Mall has observed security

guards walking around, describing them as nonchalant and seeming as though they did not want

to be at the mall.

        51.     A current employee at a store at the Columbiana Centre Mall described mall

security as more formal and professional ten years ago when he started at the mall. Now, this

witness described the security guards as failing to serve a function for the mall. Specifically, he

has noticed that physical altercations are more likely to occur at certain stores. This witness

believes that the security guards are aware of this and are reluctant to physically remove people



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fighting from the mall. This witness explained his belief that two mall security cameras were

broken because the police requested security footage from individual stores instead of getting

footage from the mall security office. Despite there being a police station about a half mile from

the mall, this witness explained that he does not see police officers patrolling the mall. This witness

has also seen repeat offenders of crimes committed in Columbiana Centre Mall come back into

the mall.

       52.     A witness who worked at Columbiana Centre Mall for 20 years explained that

during her employment, security changed about every 3 years. This witness described a time when

the mall did not have security cameras but had intentions of putting them in. She explained the

room to be used for security camera monitoring was instead used as a storage room. The witness

described weekends in the past where the mall had off-duty police officers patrolling the mall, and

a police car parked at the entrance to the food court. The witness observed that security guards

were not armed with guns.

       53.     A witness owned a boutique in Columbiana Centre Mall for about a year. She

described that while she worked there, she never experienced any security-related drills.

       54.     A frequent patron at Columbiana Centre Mall explained she never saw a security

guard in the 7 years she has shopped at the mall. This witness described a lack of lighting and her

refusal to go to Columbiana Centre Mall at night-time.

       55.     A current employee of a kiosk located in Columbiana Centre described mall

security as continuing to lack over the last few years working in the mall. At the start of her

employment, the witness felt there was not much security. The witness felt the security guards

failed to serve any function in the mall, and when responding to incidents showed a lack of wanting

to get involved, especially when guns are involved. The employee identified recent incidents of



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violence including: repeated physical altercations amongst guests, guest brandishing a firearm, and

another patron killing herself with a weapon in just the last few years. The witness explained that

mall management did not check on the witness or other workers following the April 16, 2022

shooting.

       56.     A witness who has been a frequent patron of Columbiana Centre Mall since it

opened described the mall as continuing to get less safe over the years. This witness described not

feeling safe when she went to the mall by herself. She recalled seeing security vehicles in the

parking lot but rarely saw security guards inside the mall.

       57.     A witness who has been a patron of Columbiana Centre Mall for years described

the security guards at the mall as worthless. She observed that the security guards appear to be too

old to handle violent situations. This witness did not see security guards often but has observed

some security guards driving around the parking lot.

       58.     A current employee at a store in Columbiana Centre Mall described mall security

as “nothing.” This witness recalled seeing guards but stated that they were “lollygagging,” further

explaining that it appeared to her that the security guards did not take their job seriously.

                   INJURIES TO PLAINTIFFS ON DAY OF SHOOTING

       59.     Through the acts and omissions of Defendants, specifically the failure to address

known safety risks, Plaintiff was severely injured from the violence created through the acts and

omissions of Defendants.

       60.     At the time of Plaintiff’s injuries, Plaintiff was a business invitee present at the

Columbiana Centre Mall.

       61.     As Plaintiff walked through the mall, she heard popping noises, recognizing gun

shots, and started running with the crowd.



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       62.     While in the Columbiana Centre Mall on April 16, 2022, Plaintiff, an innocent

victim, was knocked over into a sign fell to her knees, and was trampled.

       63.     Plaintiff went through extensive medical treatment as a result of Defendants’ acts

and omission which caused her injuries on April 16, 2022.

       64.     After the shootings, there was mass chaos throughout the food court and

surrounding areas of the mall.

       65.     Large crowds of individuals were rushing to exits of the mall, tables were thrown

over, individuals were crying, knocking each other over and some were bleeding on the ground.

       66.     The injuries and surrounding chaos in their immediate vicinity caused severe

emotional distress to Plaintiff.

       67.     Plaintiff continues to suffer mental and emotional distress from the events that day.

                            FOR A FIRST CAUSE OF ACTION
                Negligence/Gross Negligence/Recklessness as to All Defendants

       68.     Plaintiff incorporates all prior paragraphs as if fully set forth herein.
       69.     At all times relevant, Defendant Brookfield contracted with AFS to provide security

services for the common areas of Columbiana Centre Mall, including security in the common areas

where Plaintiff was at the time of the shooting.

       70.     By virtue of this contractual relationship, AFS was an agent of Defendant

Brookfield, as such, Defendant Brookfield is liable for the acts and omissions of AFS done within

the scope of this agency.

       71.     On information and belief, on or about April 16, 2022, AFS failed to perform its

duties pursuant to its agreement with Defendant Brookfield.

       72.     On April 16, 2022, Defendants negligently failed to perform reasonable security of

the common areas to include the area where Plaintiff was injured at the time of the shooting.


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       73.     The security role and function undertaken by AFS included responsibility

for protecting the mall’s business invitees, such as the Plaintiff, from assaults by third persons and

the resulting chaos from such an assault.

       74.     Specifically, the criminal activity referred to was foreseeable to both Defendants

because the prevention of such activity through the establishment of a security program was a

fundamental part of its responsibility at the mall, and because both Defendants had actual and

constructive notice of a history of criminal activity occurring on or about the premises of the

Columbiana Centre mall and in the near vicinity.

       75.     Defendants had a reasonable opportunity to prevent or control foreseeable third-

party criminal activity likely to endanger the safety of lawful visitors to Columbiana Centre Mall

on April 16, 2022 and on those relevant dates prior to.

       76.     Defendants had a duty to reasonably prevent or control foreseeable third-party

criminal activity likely to endanger the safety of lawful visitors to Columbiana Centre Mall on

April 16, 2022 and on those relevant dates prior to.

       77.     At all relevant times, Defendants had a duty to exercise reasonable care to discover

that criminal activity by third persons, such as that set forth in the “Background Information”

section above, was occurring and likely to endanger the safety of lawful visitors to Columbiana

Centre Mall, and to exercise care to reasonably prevent or control such criminal activity upon its

discovery.

       78.     Defendants had a duty to exercise reasonable care necessary to protect the tenants

and their business invitees at the Columbiana Centre Mall.

       79.     Defendants breached their duty to the Plaintiff by recklessly and/or negligently

failing to provide adequate security services to protect Columbiana Centre Mall’s invitees from



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the dangers created by criminal activity such as the shooting occurring on April 16, 2022 and by

failing to have an appropriate response in place to deal with such issues.

        80.    The Defendants breached their duty to the Plaintiff by recklessly and/or negligently

failing to:

               a. failing to provide adequate security on the premises;

               b. failing to adequately assess the need for security on the premises;

               c. failing to reasonably investigate and or discover the history of criminal activity
                  on the premises;

               d. failing to monitor activity on the premises that was potentially harmful to
                  others;

               e. knowingly subjecting lawful visitors of the premises to an unreasonable risk of
                  serious physical harm;

               f. failing to exercise reasonable care to provide a safe environment for the lawful
                  visitors of the premises;

               g. failing to provide proper and adequate surveillance of the premises;

               h. permitting or otherwise ignoring criminal activity on the premises;

               i. failing to properly train their employees, servants, and agents in recognizing
                  and correcting dangerous conditions and risks to lawful visitors of the premises;

               j. failing to monitor the performance of their security personnel to ensure the
                  safety of lawful visitors on the premises;

               k. failing to monitor the performance of their contractors hired to provide security
                  on the premises;

               l. failing to hire competent security personnel to ensure the safety of lawful
                  visitors on the premises;

               m. failing to implement and follow security measures commensurate with the
                  recommendations of security experts and consultants;

               n. failing to implement and follow security measures requested by its on-site
                  property manager(s);



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               o. allowing unaccompanied children, teens, and juveniles on the premises,
                  contrary to the standard of practice and/or standard of care for a commercial
                  shopping mall under the circumstances;

               p. failing to implement and enforce a curfew and/or escort program at the subject
                  premises;

               q. failing to remove delinquent, dangerous, and unauthorized persons from the
                  premises;

               r. failing to have adequate patrols on the premises so as to deter dangerous activity
                  on the premises;

               s. failing to warn lawful visitors of the premises, including Plaintiff of the risks of
                  criminal activity on the premises;

               t. failing to follow the instructions and/or recommendations of law enforcement;

               u. failing to properly budget or allocate resources so that adequate security
                  measures could be implemented and maintained;

               v. failing to maintain a policy, procedure, or system of investigating reporting, and
                  warning of criminal activity on the premises;

               w. permitting unauthorized and/or underaged persons to come onto the premises
                  with weapons;

               x. failing to restrict access to the premises on April 16, 2022 to only those persons
                  who were lawfully permitted on the premises;

               y. maintaining, inspecting, securing, patrolling, and managing the premises; and

               z. all other acts of negligence as may be shown at the time of trial.

       81.     As a direct and proximate result of the Defendants’ failure to provide reasonable

security measures, Plaintiff suffered severe physical injuries, severe emotional injuries, physical

pain and suffering and other damages.

       82.     As a direct and proximate result of the negligence, carelessness, gross negligence,

recklessness and departure from professional standards of care by the Defendants, Plaintiff has

suffered damages described herein, for which the Plaintiff is entitled to recover actual and punitive



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damages.

        83.     Defendants had knowledge, both actual and constructive, of the need to properly

maintain, secure, inspect, patrol and manage said premises, but failed to exercise ordinary care.

        84.     Defendants were negligent in failing to maintain, inspect, secure, patrol, and

manage the premises, thereby creating an unreasonable risk of injury to lawful visitors, including

Plaintiff.

        85.     Defendants knew of or, with the exercise of due care for the safety of lawful visitors,

should have known of the dangerous and hazardous conditions arising from criminal activity existing

on the premises combined with the failure to maintain, inspect, secure, patrol, and manage the

premises, and that said conditions were likely to result in serious injuries to lawful visitors, including

Plaintiff.

        86.     Defendants had actual and constructive knowledge of widespread dangerous,

reckless or negligent activity existing on and around the premises prior to the subject incident.

        87.     Defendants had actual and constructive knowledge of the regular presence of

unauthorized individuals and/or unaccompanied children, teens and juveniles on the premises, and

knew or should have known that this presence created a dangerous environment on the premises.

        88.     Because Defendants had knowledge of or, in the exercise of reasonable care, should

have had knowledge of the dangerous environment of the premises, these Defendants are liable for

the negligent supervision, hiring, training, and retention of their employees and for the entrustment of

the premises to their partners, agents and employees.

        89.     Had Defendants exercised reasonable care in preventing or controlling the

foreseeable criminal activity of third-parties, injury to Plaintiff likely could have been prevented.

        90.     The aforementioned negligence detailed in the preceding paragraphs was a



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proximate cause of the injuries to Plaintiff.

           91.   Defendants represented to the lawful visitors that the premises were properly

maintained and reasonably safe.

           92.   Each of the foregoing tortious acts and omissions constitute an independent act of

negligence on the part of these Defendants and one or more or all of the above stated acts and

omissions was a proximate cause of the injuries to the Plaintiff.

           93.   The injuries suffered by the Plaintiff were the direct and proximate result of the acts

and omissions of these Defendants. But for said acts and omissions, the Plaintiff would not have been

injured.

                                           JURY DEMAND

           94.   Plaintiff hereby demands a trial by jury on all claims so triable.

                                      REQUEST FOR RELEIF

           95.   Plaintiff incorporates all prior paragraphs as if fully set forth herein.




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      Respectfully submitted,



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Dated: July 17, 2023




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